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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10                             (HONORABLE M. JAMES LORENZ)
11 UNITED STATES OF AMERICA,               )   No. 06CR2353-L
                                           )
12              Plaintiff,                 )
                                           )   ORDER CONTINUING
13 v.                                      )   SENTENCING HEARING DATE
                                           )
14 FERNANDO OSUNA,                         )
                                           )
15              Defendant.                 )
                                           )
16

17              It is hereby ORDERED that the sentencing hearing date in this
18 case be continued from the current date of April 20, 2009, at 8:30 a.m.,

19 to May 18, 2009, at 8:30 a.m.

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     DATED:   April 17, 2009
22

23                                             M. James Lorenz
                                               United States District Court Judge
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